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                                Copyrights-In-Suit for IP Address 173.66.42.25

ISP: Verizon Online, LLC
Location: Arlington, VA



                               Registration        Date of First                             Most Recent Hit
Title                          Number              Publication           Registration Date   UTC
Emerald Love                   PENDING             07/22/2017            08/30/2017          08/04/2017

Want To Fuck My Wife           PA0002042072        02/10/2017            03/25/2017          08/04/2017

Caprice Swaps Cocks            PA0002036760        09/17/2016            12/04/2016          08/03/2017

Forbidden Fruit                PA0002036143        10/15/2016            12/04/2016          08/03/2017

Summer Sex with Sybil          PA0002050596        06/20/2017            08/29/2017          07/30/2017

Summer Lovers                  PENDING             07/07/2017            08/30/2017          07/29/2017

Definitely Not So Shy          PENDING             07/15/2017            08/30/2017          07/28/2017

Sex Games                      PA0002042046        01/14/2017            03/25/2017          06/03/2017

Introducing Kimmy              PA0002036142        10/26/2016            12/04/2016          06/03/2017

Kiss From A Rose               PA0002036766        09/23/2016            12/05/2016          06/03/2017

Pussy Party                    PA0002033411        07/23/2016            10/20/2016          06/03/2017

The Ranch Hand                 PA0002031863        07/02/2016            08/29/2016          06/03/2017

Triple Treat                   PA0002036152        10/28/2016            12/04/2016          05/30/2017

Superhot Sexting               PA0002025239        08/31/2016            11/13/2016          05/30/2017

Sultry Summer Heat             PA0002031870        06/25/2016            08/29/2016          05/30/2017

Wet Perfection                 PA0002036156        10/07/2016            12/04/2016          05/30/2017

Girl Crush                     PA0002033406        08/22/2016            10/20/2016          05/30/2017

Luscious Lena                  PA0002035904        09/27/2016            12/05/2016          05/30/2017


Total Malibu Media, LLC Copyrights Infringed: 18




                                                   EXHIBIT B
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